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 4    Telephone: (702) 388-6336
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 5

 6                          UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 7

 8    UNITED STATES OF AMERICA,
                                                        2:13-CR-051-JAD-CWH
 9                              Plaintiff,
                                                         MOTION AND ORDER TO DISMISS
10               v.                                     INDICTMENT AS TO DEFENDANT ELI
                                                        PINSONALT
11    ELI PINSONAULT,
                               Defendant.
12

13

14           The United States of America by DANIEL G. BOGDEN, United States Attorney for the

15    District of Nevada, and Kimberly M. FraynAssistant United States Attorney, requests pursuant
16    to Rule 48(a) of the Federal Rules of Criminal Procedure, that the Court enter an order allowing the
17    government to dismiss without prejudice the charges brought against defendant ELI PINSONAULT
18
      contained in the Indictment in case number 2:13-CR-051-JAD-CWH.
19
      DATED this _3rd day of June, 2014.                    Respectfully submitted,
20
                                                            DANIEL G. BOGDEN
21                                                          United States Attorney
22
                                                            /s/ Kimberly M. Frayn
23
                                                            KIMBERLY M. FRAYN
                                                            Assistant United States Attorney
24


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 1                                       CERTIFICATE OF SERVICE

 2           I, Kimberly M. Frayn, hereby certify that I am an employee of the United States Attorney=s
      Office for the District of Nevada and further certify that a copy of the foregoing motion was served
 3
      electronically upon counsel for the defendant by the EM/ECF electronic system.
 4

 5                                         /s/ Kimberly M. Frayn
                                           KIMBERLY M. FRAYN
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 1
                            UNITED STATES DISTRICT COURT
 2                               DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,                              2:13-CR-051-JAD-CWH
 4
                                Plaintiff,
 5                                                          ORDER OF DISMISSAL OF THE
                 v.                                         INDICTMENT AS TO DEFENDANT
 6                                                          ELI PINSONAULT
      ELI PINSONAULT,
 7                              Defendant.

 8

 9           Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and upon leave of Court,

10    the United States Attorney for the District of Nevada hereby dismisses without prejudice the charges
      brought against defendant ELI PINSONAULT contained in the Indictment in case number 2: 2:13-
11
      CR-051-JAD-CWH.
12                                                          Respectfully submitted,

13                                                          DANIEL G. BOGDEN
                                                            United States Attorney
14
                                                            /s/ Kimberly M. Frayn
15                                                          KIMBERLY M. FRAYN
                                                            Assistant United States Attorney
16

17    Leave of Court is granted for the filing of the foregoing dismissal of the charges brought against

18    defendant ELI PINSONAULT contained in the Indictment in case number 2: 2:13-CR-051-JAD-
      CWH without prejudice.
19
      DATED this _______
                  3rd dayday of June2014.
                          of June,   2014.
20
                                                   __________________________________
                                                         UNITED STATES DISTRICT JUDGE
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